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TAMPA DIVISION
RICHARD HARTMAN,
Plaintiff,
v. cAsENo.= 31 \4 C'\/ a\%\/YZ§M\`&P\
HSBC CARD SERVICES INC.
d/b/a ORCHARD BANK, VERIFIED COMPLAINT FOR
UNLAWFUL COLLECTION
Defendant. PRACTICES
JURY TRIAL DEMANDED

FIE COMP A T
PlaintiH` Richard Hartman, by and through undersigned counsel, sues HSBC Card
Services Inc. d/b/a Orchard Bank and states as follows:
PRELIMlNARY STATEMENT
l. Plaintiff brings this action pursuant to the Florida Consumer Collection Practices

Act (“FCCPA”), and the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 et seq.

JURlSDICTlON AND VENUE
2. F ederal subject matter jurisdiction exists pursuant to 28 U.S.C. § 1331, as PlaintiH`

brings, among other claims, claims under the federal Telephone Consumer Protection Act, 47

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U.S.C. § 227 et seq. Supplemental jurisdiction exists over the state law claims pursuant to 28
U.S.C. § 1367.

3. Venue is proper in this district pursuant to 28 U.S.C. § l39l(a) because a
substantial part of the events or omissions giving rise to the claims and injuries occurred in the
Middle District of Florida.

PARTIE§

4 Plainti&` Richard Hartman ("Hartman") is a natural person resident in the City of
Hudson, County of Pasco, State of Florida, and is a “consumer,” as that term is defined by 15
U.S.C. § 1692a(3), Fla. Stat. § 559.55(2), and a person under 47 U.S.C. § 227 et seq.

5. Defendant HSBC Card Services Inc. (“Defendant” or “HSBC”) dfb/a Orchard
Bank, is a Delaware corporation, does business in the State of Florida, and is a “creditor" as that
term is defined by Fla. Stat. § 559.55(3), as well as a “person” under Fla. Stat. § 559.72 and 47
U.S.C. § 227 et seq.

6. The conduct of Defendant was authorized, approved and/or ratified by one or
more oHicers, directors, or managers of Defendant, and/or they knew in advance that the
Defendants were likely to conduct themselves and allowed them to so act with conscious
disregard of the rights and safety of others. The agent(s) or employee(s) of Defendants acted
within the course and scope of such agency or employment and acted with the consent,

permission and authorization of Defendants.

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EACTUAL ALLEGATIQN§

7. Hartman owed a debt to HSBC (the "Debt") before defaulting on that Debt.

8. On February l, 2012, Hartman sent HSBC a letter by U.S. Certilied Mail, Retum
Receipt Requested (the "Cease & Desist Letter").

9. In the Cease & Desist Letter, Hartman told HSBC:

"[P]lease take notice that I DO NOT consent to be contacted on my cellular telephone,
the number of which is [redacted]-827, by anyone from your organization, or on behalf of your
organization This includes any successors in interest to matters pertaining to the above credit
card account.

If you company somehow feels that it has previously received consent to call me at
[redacted]-8287, please be advised that ANY SUCH CONSENT IS HEREBY REVOKED."
(ernphasis in original).

10. HSBC received the Cease & Desist Letter on February 6, 2012,

ll. Despite Hartman revoking his consent to be called on his cell phone, HSBC
continued to call Hartman on his cell phone using an automated telephone dialing system.

12. Between February l, 2012 and May 3, 2012, HSBC telephoned Hartman's cell
phone at least ninety-three (93) times using an automated telephone dialing system. Many times,
Hartman received several calls within minutes of each other, despite the Cease & Desist Letter.

13. During that time period, Hartman verbally instructed HSBC to stop calling him on
his cell phone and that he could not pay the Debt. HSBC ignored Hartman's instructions and
continued calling him on his cell phone using an automated telephone dialing system.

14. The calls from HSBC only stopped once HSBC sold the Debt to another

institution.

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15. This is an action against Defendant for violation of Fla. Stat. § 559.55 et seq.
16. Plaintiff re-a]leges and incorporate paragraphs l through 14, as if fully set forth
herein.
l7. Defendant is engaged in the business of soliciting consumer debts for collection
and collecting consumer debts and is a “person” under Fla. Stat. §559.72, and is therefore subject
to Fla. Stat. §559.55 et seq.
18. The Debt is a “consumer debt” as defined by Fla. Stat. § 559.55(1) because it is
for primarily personal, family, or household purposes.
19. Defendant communicated certain information to Plaintitf as set forth above,
which constitutes “communication,” as defined by Fla. Stat. § 559.55(5).
20. Through the conduct described in paragraphs 7 - 12 above, Defendant violated the
following provisions of the FCCPA:
21. Fla. Stat. § 559.72 provides, in pertinent part:
In collecting consumer debts, no person shall:
(7) Willfully communicate with the debtor or any member of her or his family
with such frequency as can reasonably be expected to harass the debtor or her or
his family, or willfully engage in other conduct which can reasonably be expected
to abuse or harass the debtor or any member of her or his family.
(9) . . . assert the existence of some other legal right when such person knows that
the right does not exist

22. Defendant violated the above sections of the FCCPA when Defendant: (1)

willfqu abused Plaintiff by repeatedly violating PlaintiH‘s instructions to cease calling him; (2)

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willfully abused Plaintiff by repeatedly calling him after he explained that he could not pay the
Debt, when there was no legitimate reason to continue calling Plaintiti` except for purposes of
harassment; and (3) asserted the right to violate the 'I`CPA by making numerous collection calls
to Plaintiff‘s cell phone without PlaintiH‘s express consent, using an automated dialing system.

23. All conditions precedent to this action have occurred, have been satisfied or have
been waived.

24. Pursuant to Fla. Stat. § 559.77(2), as a result of the above violations of the
FCCPA, HSBC is liable to PlaintiH` for her actual damages, statutory damages, and reasonable
attomey’s fees and costs.

25. Based upon the willful, intentional, knowing, malicious, repetitive and
continuous conduct of the Defendant as described herein, Plaintiff is also entitled to an award of
punitive damages in accordance with Fla. Stat. §§ 559.77 and 768.72.

WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment against
HSBC, finding that HSBC violated the FCCPA, awarding Plaintiff actual damages, statutory
damages, punitive damages, attorneys’ fees and costs pursuant to Fla. Stat. § 559.77(2), and

awarding Plaintiff any and all such further relief as is deemed necessary and appropriate.

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O T II
l LATION OF TC Y D ENDAN'I` HSBC

26. 'I`his is an action against Defendant for violations of the 'I`CPA, 47 U.S.C. § 227 et
seq.

27 . PlaintifI` re-alleges and reincorporates paragraphs 1 through 14, as if fully set forth
here-in.

28. Defendant, in the conduct of its business, used an automatic telephone dialing
system defined by 47 U.S.C. § 227(a)(l)(A) to communicate with Plaintiff.

29. Section 47 U.S.C. § 227(b)(l)(A)(iii) provides in pertinent part:

It shall be unlawful for any person within the United States --

(A) to make any call (other than a call made for emergency purposes or made with

the prior express consent of the called party) using any automatic telephone
system or an artificial or prerecorded voice ~-
(iii) to any telephone number assigned to a paging service, cellular
telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call;

30. Defendant violated 47 U.S.C. § 227(b)(l)(A)(iii) when Defendant placed at least
ninety-three (93) calls to Plaintiff‘s cell phone without Plaintiffs express consent using an
automatic telephone dialing system.

3l. Defendant willfully, knowingly, and intentionally made multiple calls to Plaintiffs
cell phone phone utilizing an automatic telephone dialing system after Plaintiff told Defendant
that Defendant did not have permission to call PlaintiH‘s cell phone.

32. All conditions precedent to this action have occurred, have been satisfied or have

been waived.

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33. As a result of the above violation of the TCPA, Defendant is liable to Plaintiff for
actual damages, or the amount of $500.00 as damages for each violation, whichever is greater,
pursuant to the TCPA, 47 U.S.C. § 227(b)(3)(B).

34. Based upon the willful, knowingly, and intentional conduct of the Defendant as
described above, Plaintiif is also entitled to an increase in the amount of the award to treble the
damages amount available under 47 U.S.C. § 227(b)(3)(B), in accordance with 47 U.S.C. §
227(b)(3).

WHEREFORE, Plaintiff respectfully request this Court enter a judgment against the
Defendant: (l) finding Defendant violated the TCPA; (2) awarding Plaintifi` actual damages or
the amount of $500.00 in damages for each violation, whichever is greater; (3) finding Defendant
willfully, knowingly and intentionally violated the TCPA and increasing the damages award to
treble the amount of damages otherwise to be entered as a judgment; and (4) awarding Plaintiff

any and all such further relief as is deemed necessary and appropriate

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DFO JURYTRI L

Plaintiff is entitled to and hereby respectfully demands a trial by jury. U.S. Const.

amend. 7 and Fed. R. Civ. P. 38.

Dated: Apn'l 18, 2014

Respectfully Submitted,

CENTRONE & SHRADER, LLC
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Attomeys for Plaintiff

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VERlFlCATlON OF COMPLA{NT AND CERT[FICATION BY PLAlNTlFF,
RISIHABD_HABI.MAN

l, Riehard Hartman, pursuant to 28 U.S.C. §l746, under penalties ol` perjury. state as
follows:

l. l am a Plaiutifl` in this civil proceeding

2. l have read the above entitled civil Complaint prepared by my attorneys and l
believe that all of the facts contained in it are true. to the best of my knowledge,
information and belief formed after reasonable inquiry.

3. i believe that this civil Complaint is well grounded in fact and warranted by
existing law or by o good faith argument i`or the extension. modification, or
reversal of existing law.

4. l believe that this civil Comp|aint is not interposed for any improper purpose,

such as to harass any Defendant(s), cause unnecessary delay to any Defendant(s),
_ or create a needless increase in the cost of litigation to any Defendant(s), named
f in the Complaint.

l av filed this civil Complaint in good faith and solely for the purposes set forth

....... 1 MW

Richard Hartman Datc

  

